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                                          August 3, 2022


VIA ECF

The Honorable Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

       Re: Sjunde AP-Fonden, et al. v. General Electric Co., et al., No. 17 Civ. 8457 (JMF)


Dear Judge Furman:
        Pursuant to the Court’s Order of June 2, 2022 (ECF No. 338) (“Order”), counsel for
Plaintiffs and Defendants jointly submit this letter to provide the Court with a proposal regarding
upcoming motion practice, as well as an update about efforts to reach a settlement.
       Motion Practice Proposals. Pursuant to the Court’s Order and discussions with the Court
on June 2, 2022, the parties have conferred and propose the following schedule for summary
judgment and any Daubert motions bearing upon summary judgment arguments.1 In light of the
complexity of the issues and the extensive discovery conducted in this case, the parties respectfully
request that their opening and opposition memoranda of law for summary judgment be limited to
50 pages, and that the reply memorandum be limited to 25 pages.

      Defendants’ motion for Summary Judgment, and Daubert motion             Sep. 6, 20222
      Plaintiffs’ opposition to Summary Judgment, opposition to               Nov. 6, 2022
      Defendants’ Daubert, and Daubert motion
      Defendants’ reply for Summary Judgment, reply for Daubert, and          Dec. 5, 2022
      opposition to Plaintiffs’ Daubert
      Plaintiffs’ reply for Daubert                                           Dec. 22, 2022

      Settlement. The parties will conduct a mediation session before a private mediator on
August 11, 2022.

1
 The parties request to reserve the right to move to exclude any remaining expert opinions that do
not bear upon summary judgment arguments in connection with trial.
2
 The proposed deadlines herein, except for the December 22, 2022 deadline for Plaintiffs’ Daubert
reply, conform to the dates previously set forth in the parties’ joint letter of May 26, 2022 (ECF
No. 335).
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Respectfully submitted,3

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3
 The parties use electronic signatures with consent in accordance with Rule 8.5(b) of the Court’s
ECF Rules and Instructions.
